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            EXHIBIT C
                                                                                                                                             Case 1:24-cv-03571                                                                            Document 1-3   Filed 12/20/24   Page 2 of 4




From: Britton, Chantelle (HRSA) CBritton@hrsa.gov
Sent: Friday, August 16, 2024 2:04 PM
To: Derek L Asay asay_derek_l@lilly.com
Cc: Josh Tomas O'Harra oharra_josh_t@lilly.com; Herzog, Michelle (HRSA) MHerzog@hrsa.gov
Subject: [EXTERNAL] RE: Lilly follow-up subgrantee letter

Hi Derek – thanks for sharing your continued concerns on this matter. We are looking into this and will reach back out if we have more to share. Thank you, Chantelle From: Derek L Asay <asay_derek_l@ lilly. com> Sent: Friday, August




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Hi Derek – thanks for sharing your continued concerns on this matter. We are looking into this and
will reach back out if we have more to share.


Thank you,
Chantelle
                Case 1:24-cv-03571                                Document 1-3                        Filed 12/20/24                       Page 3 of 4




From: Derek L Asay <asay_derek_l@lilly.com>
Sent: Friday, August 16, 2024 1:55 PM
To: Britton, Chantelle (HRSA) <CBritton@hrsa.gov>
Cc: Josh Tomas O'Harra <oharra_josh_t@lilly.com>
Subject: [EXTERNAL] Lilly follow-up subgrantee letter

Dear Acting Director Britton,
Attached is a follow-up letter regarding the certification of so-called “subgrantees” in the 340B
program. As always, we would be happy to find a time to meet with your office to discuss further if
helpful.
Best regards,
Derek
Derek L. Asay
Senior Vice President, Government Strategy and Federal Accounts
Lilly Value and Access
Lilly USA, LLC
Mobile: 908-268-8720
Email: derek.asay@lilly.com l Web: http://www.lilly.com
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From: Derek L Asay
Sent: Wednesday, March 20, 2024 3:47 PM
To: Britton, Chantelle (HRSA) <CBritton@hrsa.gov>
Subject: Lilly subgrantee letter

Dear Acting Director Britton,
Attached is a letter regarding the certification of so-called “subgrantees” in the 340B program. As
always, we would be happy to find a time to meet with your office to discuss further if helpful.
Best regards,
Derek
Derek L. Asay
Senior Vice President, Government Strategy and Federal Accounts
Lilly Value and Access
Lilly USA, LLC
Mobile: 908-268-8720
Email: derek.asay@lilly.com l Web: http://www.lilly.com
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